Case 1:19-cr-20261-CMA Document 9 Entered on FLSD Docket 05/03/2019 Page 1 of 8




                             19-20261-CR-ALTONAGA/GOODMAN
Case 1:19-cr-20261-CMA Document 9 Entered on FLSD Docket 05/03/2019 Page 2 of 8




 motor vehicle, in committing and in furtherance of the commission of the offense, in violation of

 Title 18, United States Code, Section 1201(a)(l).

                                OBJECT OF THE CONSPIRACY

        It was the purpose and object of the conspiracy for the defendants and their co-conspirators

 to unlawfully enrich themselves by seizing, confining, and kidnapping Victim 1 until Victim 1

 gave the defendants money and assets.

                                          OVERT ACTS

        In furtherance of the conspiracy, and to accomplish its purpose, at least one of the

 defendants committed and caused to be committed, in the Southern District of Florida and

 elsewhere, at least one of the following overt acts, among others:

        1.      On or about December 30, 2018, SERGE NKORINA and JUSTIN BOCCIO

 purchased supplies at a Home Depot in Broward County, Florida.

        2.      On or about January 5, 2019, JUSTIN BOCCIO rented a van from Budget with

 Florida tag number GHPTl 9.

        3.      On or about January 14, 2019, JUSTIN BOCCIO entered Victim 1's office and

 made false representations on paperwork while utilizing a cellular telephone.

        4.      On or about January 14, 2019, SERGE NKORINA and JUSTIN BOCCIO

 intercepted Victim 1 in the parking lot of a Walmart in Broward County, Florida.

        5.      On or about January 14, 2019, SERGE NKORINA and JUSTIN BOCCIO

 blindfolded Victim 1, and forced Victim 1 into the rental van with Florida tag number GHPT19.

        6.      On or about January 14, 2019, SERGE NKORINA and JUSTIN BOCCIO

 transported Victim 1 to a storage facility in Margate, Florida.

        7.      On or about January 14, 2019, SERGE NKORINA and JUSTIN BOCCIO



                                                  2
Case 1:19-cr-20261-CMA Document 9 Entered on FLSD Docket 05/03/2019 Page 3 of 8



 burned Victim 1's hands with a blowtorch, while threatening to kill Victim 1 with a firearm and

 other weapons.

        8.        On or about January 14, 2019, SERGE NKORINA and JUSTIN BOCCIO

 demanded information about Victim l's home address in Miami-Dade County, Florida, and access

 codes to Victim l's residence.

        9.        On or about January 15, 2019, SERGE NKORINA visited the premises of Victim

 l's residence in Miami-Dade County, Florida, while carrying a firearm.

        10.       On or about January 15, 2019, SERGE NKORINA and JUSTIN BOCCIO left

 Victim 1, with his hands and feet bound, inside of Victim l's vehicle in the parking lot of Cheetah

 Gentlemen's Club in Broward County, Florida.

        All in violation of Title 18, United States Code, Section 120l(c).

                                             COUNT2
                                            Kidnapping
                                      (18 U.S.C. § 1201(a)(l))

        On or about January 14, 2019, in Broward County, in the Southern District of Florida, and

 elsewhere, the defendants,

                                      SERGE NKORINA and
                                        JUSTIN BOCCIO,

 did unlawfully seize, confine, decoy, kidnap, abduct, carry away, and hold for ransom and reward,

 any person, that is, Victim 1, and did use any means, facility, and instrumentality of interstate and

 foreign commerce, that is, cellular telephones and a motor vehicle, in committing and in

 furtherance of the commission of the offense, in violation of Title 18, United States Code, Sections

 120l(a)(l) and 2.




                                                  3
Case 1:19-cr-20261-CMA Document 9 Entered on FLSD Docket 05/03/2019 Page 4 of 8




                                          COUNT3
                 Brandishing a Firearm in Furtherance of a Crime of Violence
                                 (18 U.S.C. § 924(c)(l)(A)(ii))

        On or about January 14, 2019, in Broward County, in the Southern District of Florida, and

 elsewhere, the defendants,

                                      SERGE NKORINA and
                                        JUSTIN BOCCIO,

 did knowingly use and carry a firearm during and in relation to a crime of violence, and did

 knowingly possess a firearm in furtherance of a crime of violence, an offense for which the

 defendants may be prosecuted in a court of the United States, that is, a violation of Title 18, United

 States Code, Section 1201(a)(l), as charged in Count 2 of this Indictment; in violation of Title 18,

 United States Code, Sections 924(c)(1 )(A) and 2.

        Pursuant to Title 18, United States Code, Section 924(c)(1 )(A)(ii), it is further alleged that

 the firearm was brandished.

                                 FORFEITURE ALLEGATIONS

           1.     The allegations of this Indictment are re-alleged and by this reference fully

   incorporated herein for the purpose of alleging forfeitures to the United States of America of

   certain property in which one or more of the defendants, SERGE NKORINA and JUSTIN

   BOCCIO, have an interest.

          2.      Upon conviction of any violation of Title 18, United States Code, Sections

   1201(c) or 1201(a), as alleged in this Indictment, the defendants shall forfeit to the United

   States all property, real or personal, which constitutes, or is derived from, any proceeds

   traceable to such violation, pursuant to Title 18, United States Code, Section 98l(a)(l)(C), as

   made applicable by Title 21, United States Code, Section 2461 (c).



                                                   4
Case 1:19-cr-20261-CMA Document 9 Entered on FLSD Docket 05/03/2019 Page 5 of 8




           3.     Upon conviction of any violation of Title 18, United States Code, Section

  924(c)( 1)(A), as alleged in th is Indictment, any defendant so convicted shall for feit to the

  United States any firearms and ammunition involved in or used in the commission of said

  violation, pursuant to Title 18, United States Code, Section 924(d)(I ), as made applicable

  hereto by Title 28, United States Code, Section 246 l (c ).

           All pursuant to Title 18, United States Code, Sections 98 l (a)(l )(C) and 924(d), and the

  procedures set forth in Title 2 1, United States Code, Section 85 3, as made applicable by Title

  28, United States Code, Section 246l(c).


                                                       A TRUE BILL



                                                                           c::
                                                       FOREPERSON



 UNITED STATES ATTORNEY




      H.    ILLER
 A SISTANT UNITED STATES ATTORNEY




                                                                                                        !

                                                   5
     Case 1:19-cr-20261-CMA Document 9 Entered
                             UNITED STATES     on FLSD
                                           DISTRICT    Docket 05/03/2019 Page 6 of 8
                                                    COURT
                                             SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                    CASE NO.    ~~~~~~~~~~~~~~~~~~




v.
                                                       CERTIFICATE OF TRIAL ATTORNEY*
SERGE NKORINA and
JUSTIN BOCCIO,
                        Defendants.
~~~~~~~~~~~~~-
                                               I       Superseding Case Information:


Court Division:        (select One)                   New Defendant(s)                    Yes           No
                                                      Number of New Defendants
_x_        Miami         _       Key West             Total number of counts
           FTL                   WPB          FTP

           I do hereby certify that:

           1.         I have carefully considered the allegations of the indictment, the number of defendants, the number
                      of probable witnesses and the legal complexities of the Indictment/Information attached hereto.

           2.         I am aware that the information supplied on this statement will be relied upon by the Judges of this
                      Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                      Act, Title 28 U.S.C. Section 3161.

          3.          Interpreter:    (Yes or No)      No
                      List language and/or dialect

          4.          This case will take     2-3     days for the parties to try.

           5.         Please check appropriate category and type of offense listed below:
                      (Check only one)                                 (Check only one)

          I           0      to 5 days                    x            Petty
          II          6      to 10 days                                Minor
          III         11     to 20 days                                Misdem.
          IV          21     to 60 days                                Felony                      x
          v           61     days and over

          6.        Has this case been previously filed in this District Court? (Yes or No)       No
          If yes:
          Judge:                                              Case No.
          (Attach copy of dispositive order)



                                                                                                                              I
          Has a complaint been filed in this matter?          (Yes or No)       Yes
          If yes:
          Magistrate Case No.                         19-02496-mj-BECERRA (Nkorina);             19-02491-mj-BECERRA
                                                     (Boccio)
          Related Miscellaneous numbers:
          Defendant(s) in federal custody as of       Apnl 3, 2019 (Boccio)
          Defendant(s) in state custody as of
          Rule 20 from the District of
          Is this a potential death penalty case? (Yes or No)            No


           7.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                      prior to August 9, 2013 (Mag. Judge Ahcia 0. Valle)? X NO

           8.         Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                      prior to August 8, 2014 (Mag. Judge Shaqie      aynard)? X NO




                                                                      . ILLER
                                                                     T   T UNITED STATES ATTORNEY
                                                                    RT ID NO. A5502054


*Penalty Sheet(s) attached                                                                              REV 4/8/08
    Case 1:19-cr-20261-CMA Document 9 Entered on FLSD Docket 05/03/2019 Page 7 of 8




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                                           PENALTY SHEET

     Defendant's Name: SERGE NKORINA



     Count#: 1

     Conspiracy to Commit Kidnapping




I
     Title 18, United States Code, Section 1201(c)

     *Max. Penalty:        Life Imprisonment

     Count#: 2

     Kidnapping

     Title 18, United States Code, Section 1201(a)(l)

     * Max. Penalty:       Life Imprisonment

     Count#: 3

     Using, Carrying, and Possessing a Firearm in Furtherance of a Crime of Violence

     Title 18, United States Code, Section 924(c)(l)(A)

     * Max. Penalty:       Life Imprisonment


     *Refers only to possible term of incarceration, does not include possible Imes, restitution,
     special assessments, parole terms, or forfeitures that may be applicable.
Case 1:19-cr-20261-CMA Document 9 Entered on FLSD Docket 05/03/2019 Page 8 of 8




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


                                       PENALTY SHEET

 Defendant's Name: JUSTIN BOCCIO



 Count#: 1

.Conspiracy to Commit Kidnapping

 Title 18, United States Code, Section 1201(c)

 * Max. Penalty:       Life Imprisonment

 Count#: 2

Kidnapping

Title 18, United States Code, Section 1201(a)(l)

 * Max. Penalty:       Life Imprisonment

Count#: 3

Using, Carrying, and Possessing a Firearm in Furtherance of a Crime of Violence

Title 18, United States Code, Section 924(c)(l)(A)

 * Max. Penalty:      Life Imprisonment
                                                                                                f
*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.
